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                              No. 14-15042
                             _____________

               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT
                            _____________

                        UNITED STATES OF AMERICA,

                            Plaintiff-Appellee,

                                    v.

                         PATRICIA ALLANA AYERS,

                           Defendant-Appellant.
                             _____________

           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                     No. 5:14-CR-00117-LSC-SGC
                            _____________

         INITIAL BRIEF OF APPELLANT PATRICIA ALLANA AYERS
                           _____________


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                                  Federal Public Defender
                                  Northern District of Alabama

                                  ALLISON CASE
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                                 No. 14-15042

                United States of America v. Patricia Allana Ayers

             CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

1.   Ayers, Matthew David, Co-Defendant;

2.   Ayers, Patricia Allana, Defendant-Appellant;

3.   Billingsley, Michael B., Assistant United States Attorney for the Northern

     District of Alabama;

4.   Brower, W. Scott, Counsel for co-defendant;

5.   Burrell, Mary Stuart, Assistant United States Attorney for the Northern

     District of Alabama;

6.   Butler, Kevin L., Federal Public Defender for the Northern District of

     Alabama;

7.   Case, Allison, Assistant Federal Public Defender for the Northern District of

     Alabama;

8.   Coogler, The Honorable L. Scott, United States District Judge for the

     Northern District of Alabama;

9.   Cornelius, The Honorable Staci G., United States Magistrate Judge for the

     Northern District of Alabama;


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10.   Gibson, James T., Assistant Federal Public Defender for the Northern District

      of Alabama;

11.   Oswald, Deanna Lee, Research & Writing Attorney, Office of the Federal

      Public Defender for the Northern District of Alabama;

12.   Richard, Junie, Supervising United States Probation Officer for the Northern

      District of Alabama;

13.   S.F.P., minor victim;

14.   Sokol, Amy, Senior United States Probation Officer for the Northern District

      of Alabama;

15.   Tewalt, Michael T., Assistant Federal Public Defender for the Northern

      District of Alabama;

16.   Threatt, Glennon F., Jr., Assistant Federal Public Defender for the Northern

      District of Alabama;

17.   Vance, Joyce White, United States Attorney for the Northern District of

      Alabama.




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              STATEMENT REGARDING ORAL ARGUMENT

      Mrs. Ayers does not request oral argument because the parties’ briefs and the

record should adequately present the facts and legal arguments necessary to resolve

this appeal. See Fed. R. App. P. 34(a)(2)(C); 11th Cir. R. 34-3(b)(3).




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                      STATEMENT OF JURISDICTION

      This is a direct appeal of a final judgment in a criminal case. The United

States District Court for the Northern District of Alabama docketed the final

judgment on October 23, 2014, and Mrs. Ayers timely filed her Notice of Appeal on

November 5, 2014. (Docs. 30, 39.) The district court had subject-matter jurisdiction

under 18 U.S.C. § 3231, and this Court has appellate jurisdiction under 18 U.S.C. §

3742(a) and 28 U.S.C. § 1291.




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                         STATEMENT OF THE ISSUE

      Congress has provided sentencing courts with the overarching instruction to

impose sentences that are “sufficient, but not greater than necessary” to accomplish

the sentencing goals outlined in 18 U.S.C. § 3553(a)(2). See 18 U.S.C. § 3553(a).

A sentence may be substantively unreasonable if it “does ‘not achieve the purposes

of sentencing stated in § 3553(a).’” United States v. Pugh, 515 F.3d 1179, 1191

(11th Cir. 2008) (quoting United States v. Martin, 455 F.3d 1227, 1237 (11th Cir.

2006)). Does Mrs. Ayers’s sentence of 19,080 months achieve the purposes of

sentencing?




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                         STATEMENT OF THE CASE

      In April 2014, the grand jury for the Northern District of Alabama returned an

indictment charging Mrs. Ayers and her husband, Matthew David Ayers, with a

single count of possession and access of a camera and a cellular telephone with the

intent to view child pornography, 18 U.S.C. § 2252A(a)(5)(B), and numerous counts

of production of child pornography, 18 U.S.C. § 2251(a), and production of child

pornography by a parent, 18 U.S.C. § 2251(b). (Doc. 1.) At that time, Mrs. Ayers

was held in state custody on related charges and, at the government’s request, she

was transferred to federal custody to face the charges. (Doc. 2.)

      Once in federal custody, Mrs. Ayers timely entered into a plea agreement with

the government. (Doc. 17.) She agreed to plead guilty to 53 counts of production

of child pornography, 18 U.S.C. § 2251(a), in exchange for the government

dismissing 53 counts of production of child pornography by a parent, 18 U.S.C. §

2251(b), and the single charge under 18 U.S.C. § 2252A(a)(5)(B). Id. Within the

plea agreement, Mrs. Ayers waived her right to appeal the sentence unless it is

greater than (1) the statutorily mandated maximum punishment or (2) the guideline

sentencing range determined by the court at the sentencing hearing. Id. at 12. In

June 2014, the district court accepted Mrs. Ayers’s guilty plea to 53 counts of

production of child pornography, 18 U.S.C. § 2251(a), pursuant to the plea

agreement. (Doc. 48 at 23.)

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      The presentence investigation report (PSR) calculated the total offense level

as 43 and Mrs. Ayers’s criminal history category as I, which corresponds to an

advisory guideline range of life in prison. (PSR ¶¶ 220, 223, 255.) Because the

statutorily authorized maximum sentence for a conviction under 18 U.S.C. § 2251(a)

is 30 years, and therefore, less than life in prison, the PSR concluded pursuant to

USSG § 5G1.2(b) and (d) that all 53 counts of conviction should run consecutively

to each other. (PSR ¶ 255); see 18 U.S.C. § 2251(e). By applying § 5G1.2(d), the

PSR concluded that the advisory guideline range is 1,590 years (53 counts x 30

years), which equates to 19,080 months. (PSR ¶ 255.)

      In October 2014, the district court imposed a sentence of 19,080 months in

custody to be followed by a lifetime term of supervised release. (Doc. 30.) The

judgment is silent as to whether the sentence should run concurrently with any state

sentence. Id. Following the sentencing hearing, Mrs. Ayers was returned to the

custody of the State of Alabama and she is presently serving a state sentence at the

Julia Tutwiler Prison for Women in Wetumpka, Alabama. (Doc. 37); see ALABAMA

DEPARTMENT OF CORRECTIONS, http://www.doc.state.al.us/InmateInfo.aspx (last

visited May 4, 2015) (providing that Mrs. Ayers is serving a life sentence with the

possibility of parole). She now appeals her federal sentence of 19,080 months.




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                            STANDARD OF REVIEW

      A challenge to the substantive reasonableness of the sentence imposed by the

district court is reviewed for abuse of discretion. Gall v. United States, 552 U.S. 38,

51, 128 S. Ct. 586, 597 (2007); United States v. Livesay, 587 F.3d 1274, 1278 (11th

Cir. 2009). However, if a sentencing issue is raised for the first time on appeal, the

issue is reviewed only for plain error. United States v. Aguillard, 217 F.3d 1319,

1320 (11th Cir. 2000) (per curiam).




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                       SUMMARY OF THE ARGUMENT

      Congress has provided sentencing courts with the overarching instruction to

impose sentences that are “sufficient, but not greater than necessary” to accomplish

the sentencing purposes outlined in 18 U.S.C. § 3553(a)(2). See 18 U.S.C. § 3553(a).

Mrs. Ayers’s sentence of 19,080 months equates to 1,590 years in prison. Based on

her life expectancy of 85.6 years, the sentence constitutes more than 18 lifetimes.

Because the length of the sentence is greater than necessary to achieve the sentencing

purposes outlined in § 3553(a), the sentence is substantively unreasonable.




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                                    ARGUMENT

I.    A sentence may be substantively unreasonable if it does not achieve the
      purposes of sentencing stated in 18 U.S.C. § 3553(a).

      Congress has provided district courts with the overarching instruction to

impose sentences that are “sufficient, but not greater than necessary, to comply with

the purposes” listed in 18 U.S.C. § 3553(a)(2). See 18 U.S.C. § 3553(a). This Court

has described this instruction as the “Goldilocks principle,” requiring that “a

sentencing court when handing down a sentence be stingy enough to avoid one that

is too long, but also that it be generous enough to avoid one that is too short.” United

States v. Irey, 612 F.3d 1160, 1197 (11th Cir. 2010) (en banc). The § 3553(a)(2)

factors include, among others: (1) the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; (2) the need to afford adequate deterrence; (3) the need

to protect the public from further crimes of the defendant; (4) the applicable

guideline range; and (5) the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct. A

sentence may be substantively unreasonable if it “does ‘not achieve the purposes of

sentencing stated in § 3553(a).’” Pugh, 515 F.3d at 1191 (quoting Martin, 455 F.3d

at 1237).




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II.     The sentence of 19,080 months is greater than necessary to achieve the
        purposes of sentencing.

        The district court in Mrs. Ayers’s case determined the advisory guideline

range as 19,080 months in custody because it stacked each of the 53 counts of

conviction pursuant to USSG § 5G1.2(d). Section 5G1.2(d) provides:

        If the sentence imposed on the count carrying the highest statutory
        maximum is less than the total punishment, then the sentence imposed
        on one or more of the other counts shall run consecutively, but only to
        the extent necessary to produce a combined sentence equal to the total
        punishment. In all other respects, sentences on all counts shall run
        concurrently, except to the extent otherwise required by law.

The district court found that § 5G1.2(d) applied because the “total punishment”

under the Sentencing Guidelines was life in prison and the statutory maximum

sentence for each count of conviction is 30 years. 1 Invoking § 5G1.2(d), the district

court stacked all 53 counts of conviction under 18 U.S.C. § 2251(a).

        Although not raised to the district court, stacking all 53 counts of conviction

was unnecessary to reach the “total punishment.” Section 5G1.2(d) instructs a

district court to stack the multiple counts of conviction “only to the extent necessary

to produce a combined sentence equal to the total punishment” and that “[i]n all

other respects, sentences on all counts shall run concurrently.” In reviewing this


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 The guidelines commentary explains: “The combined length of the sentences
(‘total punishment’) is determined by the court after determining the adjusted
combined offense level and the Criminal History Category and determining the
defendant’s guideline range on the Sentencing Table in Chapter Five, Part A
(Sentencing Table).” § 5G1.2, app. n.1.
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guideline provision, this Court has explained that “§ 5G1.2(d) requires that sentences

run consecutively to the extent necessary to reach the defendant’s guidelines range.”

United States v. Johnson, 451 F.3d 1239, 1243 (11th Cir. 2006) (per curiam) (citing

United States v. Davis, 329 F.3d 1250, 1253-54 (11th Cir. 2003) (per curiam)). And

in the specific context of an advisory guideline range of life in prison, this Court has

noted that § 5G1.2(d) requires “the district court to impose consecutive sentences

sufficient to equal life imprisonment.” United States v. Gallego, 247 F.3d 1191,

1200, n.19 (11th Cir. 2001).

      At least one district court has recognized that stacking counts beyond an

individual’s lifetime is unnecessary and not required under § 5G1.2. In United States

v. Dowell, 771 F.3d 162 (4th Cir. 2014), the district court found that the PSR’s

recommended sentence of 4,560 months “to be unrealistic and not required by §

5G1.2, and, in light of [the defendant’s] age, determined that a sentence of 960

months was tantamount to a life sentence.” 771 F.3d at 166. The district court

explained, “‘[g]iven [the defendant’s] age, there’s no practical reason, no reason

under the guidelines or the case law, to calculate the guidelines to run any additional

sentences consecutive beyond the 960 months.’” Id. at 166-67. The Fourth Circuit

affirmed this sentence following the defendant’s appeal. Id. at 177.

      In the instant case, Mrs. Ayers was 34 years old at the time of sentencing and

her life expectancy is 85.6 years. (PSR, p.3; SOCIAL SECURITY LIFE EXPECTANCY

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CALCULATOR, http://www.ssa.gov/planners/lifeexpectancy.html (last visited May 4,

2015.)) To reach a sentence equal to life imprisonment, the district court needed to

run only 3 counts consecutively and thereby reach 90 years in prison. The stacking

of the additional 50 counts is unnecessary and beyond the purpose of § 5G1.2.

Indeed, the plain language of § 5G1.2(d) anticipates that only certain counts must be

stacked to reach the total punishment because the guideline provides that “[i]n all

other respects, sentences on all counts shall run concurrently.”

      On the whole, the advisory guideline range adopted by the district court is

unnecessary under § 5G1.2(d) and, for these same reasons, the sentence of 19,080

months is greater than necessary to achieve the purposes of sentencing. A sentence

far beyond Mrs. Ayers’s lifetime is plainly greater than necessary to reflect the

seriousness of the offense, to promote respect for the law, to provide just

punishment, and to protect the public from further crimes. See 18 U.S.C. § 3553(a).

And for these reasons, the sentence is substantively unreasonable.




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                                CONCLUSION

      Based on the foregoing reasons, Mrs. Ayers’s sentence is due to be vacated,

and this cause remanded.

                                     Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      Counsel for Patricia Allana Ayers certifies that this brief complies with the
volume limitations set forth in Fed. R. App. P. 32(a)(7)(B) and 11th Cir. R. 32-4.
The brief contains 2,670 countable words. Times New Roman 14 is the type size
and style used in this brief.


                                      ______________________________
                                      ALLISON CASE
                                      Assistant Federal Public Defender
                                      Northern District of Alabama




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                         CERTIFICATE OF SERVICE

       I certify that on May 4, 2015, the foregoing Brief of Appellant was filed
electronically using this Court’s CM/ECF system and that a true and correct copy
was served on counsel for the Appellee and on the Appellant by either first-class
United States mail or Federal Express overnight delivery, postage prepaid, addressed
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      On this same date, the original and additional copies of the foregoing Brief of
Appellant were filed by Federal Express overnight delivery, postage prepaid,
addressed as follows:

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                                       ALLISON CASE
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                                       Northern District of Alabama




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